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                                                                                               FILE
                                                                                         IN OPEN COURT


                         IN THE UNITED STATES DISTRICT COURT
                                                                                         MAY 1 6 2024
                         rOR 'I'l-IE EASTERN DISTRICT OF VIRGINIA

                                                                                   CLERK, U.S. DISTRICT COURT
                                         Norfolk Division                                 N^FOLK. VA


 UNITED STATES OF AMERICA                     )
                                              )       CRIMINAL NO. 2:23-cr-48
               V.                             )
                                              )
 AMBER DAWN HENDRICKS,                        )
 a/k/a AMBER DAWN COSTELLO,                   )
                                              )
              Defendant.                      )

                                    STATEMENT' OF FACTS


        The United States and the defendant, AMBER DAWN HENDRICKS, a/k/a AMBER

 DAWN COSTELLO (hereinaftcr“HENDRICKS”), stipulate that the allegations contained in iJie

 Information and the followingfacts are true and correct, and that had the matter gone to trial the

 United States would have proven them beyond a reasonable doubt with admissible and eredible

 evidence:


                In January 2022, VBPD and HSI were informed that Colin Costello (separately

 charged federal defendant) was distributing significant quantities of methamphetamine and was in

 possession of numerous firearms,despite beinga convicted felon. After controlled purchases of

 methamphetamine were made from Costello, law enforcement obtained a search warrant for the

 residence he lived in along with HENDRICKS, which was located in Virginia Beach.

        2.     On April 22, 2022, law enforcement executed the search warrant and recovered

 over 400 grams of methamphetamine and fourteen firearms.

        3.      HENDRICKS was present when the search warrant was executed. She told law

 enforcement that some of the firearms recovered belonged to her.
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         4.      HENDRICKS further admiltcd she was a methainphetainine userand that she last

 used methamphetaminc the day before the search warrant.

         5.      According to records obtained by law enforcement, HENDRICKS purchased a

 Tisas Pistol, Model: ZIG M1911, Caliber: .45ACP on March 3, 2022 in Virginia Beach. At the

 time of the purchase, and while she was in possession of this firearm, HENDRICKS was an

 unlawful user of and addicted to a controlled substance, namely methamphetamine.

         6.      HENDRICKS also purchased a Merak Savumna Sanayi, Model: Charles Daly

 Shotgun Model 301,12 Gauge, and an Arex Pistol, Model: Rex Zero IS, Caliber: 9xl9mm on

 April 20, 2022 in Virginia Beach. Atthe time of the purchase, and while she was in possession of

 these firearms, HENDRICKS was an unlawful user of and addicted to a controlled substance,

 namely methamphetamine.

         7.     The Tisas Pistol, Model: ZIG Ml911, Caliber: .45ACP: Merak Savunma Sanayi,

 Model: Charles Daly Shotgun Model 301,12 Gauge; and (3) Arex Pistol, Model: Rex Zero IS,

 Caliber: 9xl9mm, were each manufactured outside the Commonwealth of Virginia and were each

 previously shipped and transported in interstate and/or foreign commerce.

                Virginia Beach is within the Eastern District of Virginia.

        9.      HENDRICKS’ participation in the events described was undertaken knowingly,

 intentionally, and unlawfully, and not as a result of an accident, mistake, or other innocent reason.

         10.    HENDRICKS acknowledges that the foregoing statement of facts does not describe

 all of her conduct relating to the offense charged in this case nor does it identify all of the persons

 with whom she may have engaged in illegal activities.




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                             Respectfully submitted,

                             Jessica D. Aber
                             United States Attorney




                             Assistant United States Attorney




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        After consulting with my attorney, I hereby stipulate that the above Statement of Facts is

 true and accurate, and that had the matter proceeded to trial, the United States would have proved

 the same beyond a reasonable doubt.




                                      AMBER DAWN MENDRICKS
                                      a/k/a/ AMBER DAWN COSTELO
                                      Defendant




        1 am counsel for AMBER DAWN HENDRICKS. 1 have carefully reviewed the above

 Statement of Facts with her. To my knowledge, her decision to stipulate to these facts is an

 informed and voluntary one.



                                      Mark Stokes, Esq.
                                      Attorney for Amber Dawn Hendricks




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